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                                  UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                      SAN FRANCISCO DIVISION
13
     SARAH ANDERSEN, an individual;                      Case No. 3:23-cv-00201-WHO
14   KARLA ORTIZ, an individual;
     GRZEGORZ RUTKOWSKI, an individual;                  STIPULATION
15   GREGORY MANCHESS, an individual;
     GERALD BROM, an individual;                         Dept.:      2; 17th Floor
16   JINGNA ZHANG, an individual;                        Judge:      Hon. William H. Orrick
     JULIA KAYE, an individual;
17   ADAM ELLIS, an individual,                          Date Filed: January 13, 2023
18                  Individual and Representative        Trial Date: None Set
                    Plaintiffs,
19
               v.
20
     STABILITY AI LTD., a UK corporation;
21   STABILITY AI, INC., a Delaware corporation;
     DEVIANTART, INC., a Delaware corporation;
22   MIDJOURNEY, INC., a Delaware corporation;
     RUNWAY AI, INC., a Delaware corporation,
23
                    Defendants.
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 1             Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 6-2, Plaintiffs Sarah

 2   Andersen, et al. (“Plaintiffs”) and Defendants Stability AI Ltd., Stability AI, Inc., DeviantArt,

 3   Inc., Midjourney, Inc., and Runway AI, Inc. (collectively “Defendants”), by and through their

 4   undersigned counsel, hereby submit the following stipulation and respectfully request that the

 5   Court extend the deadline for the Parties to submit a stipulated deposition protocol from February

 6   3, 2025 to February 12, 2025.

 7             WHEREAS, on October 29, 2024, this Court adopted the schedule proposed by the Parties

 8   in their Joint Case Management Statement, with modifications not at issue here. See Dkt. 240.

 9   The Parties’ schedule provides that a deposition protocol shall be submitted to this Court, or the

10   parties shall submit a joint letter brief (of up to three pages per side) regarding disputed issues, by

11   February 3, 2025. See Dkt. 235 at 24.

12             WHEREAS, this Court’s order adopting the schedule stated that the parties may “fine

13   tun[e] . . . the schedule via stipulation of counsel.” See Dkt. 240.

14             WHEREAS, Plaintiffs and Defendants have agreed to a short extension of the February 3,

15   2025 deadline so that the Parties may continue to meet and confer to resolve as many disputes as

16   possible regarding the deposition protocol.

17             WHEREAS, to date, there have been minimal time modifications in the case by

18   stipulation or Court order. See Dkts. 28 & 29, 39 & 40, 60 & 63, 92 & 95, 137 & 138, 152 &

19   153, 242 & 243.

20             WHEREAS, granting this stipulation will not impact any other deadlines in this case,

21   including the Case Management Conference scheduled for May 6, 2025. See Dkt. 240.

22             WHEREAS, no party will be prejudiced by this stipulation, and all agree hereto.

23             NOW, THEREFORE, THE PARTIES HEREBY AGREE AND STIPULATE to request

24   an order from the Court amending the deadline for the Parties to submit a stipulated deposition

25   protocol, or a joint letter brief regarding disputed areas, to February 12, 2025.

26             SO STIPULATED.

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